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Date: 12/01/2017                         Judge: JOHN F. ANDERSON
                                          Reporter: FTR
 Start: iP Oft/WX
 Finish: \0 \ \ p>/\Y\A
 Civil Action Number: 1:17-cv-364-LMB-JFA

 Sharvl Thompson Attkisson et al.

 vs.



 Unknown Named Agents Of The Department of Jusitce

 Appearances of Counsel for (\/) Pltf( )Deft
 ( ) Matter is uncontested
 Motion to/for:


 [1411 Plaintiffs Motion for Extension ofCertain Discovery Deadlines

 Arped &
 (V) Granted ( ) Denied ( ) Granted in part/Denied in part
 ( ) Taken Under Advisement ( ) Continued to




 ( ) Report and Recommendation to Follow
 (\l) Order to Follow
